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 5                        UNITED STATES DISTRICT COURT

 6                      EASTERN DISTRICT OF CALIFORNIA

 7

 8   UNITED STATES OF AMERCIA,            No. 2:08-cr-00123-GEB
 9                Plaintiff,
10        v.                              ORDER
11   SERAFIN HERNANDEZ GONZALEZ,
12                Defendant.
13

14             This order clarifies that the “new law violation” that

15   I adjudged Serafin Hernandez Gonzalez to have committed at the

16   conclusion of the supervised release evidentiary hearing held on

17   November 8, 2013, when I found he committed charge 1 in the

18   Petition, is the misdemeanor crime prescribed in California Penal

19   Code Section 71.

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               Dated:    November 14, 2013
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